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            1   BLACKMON & ASSOCIATES
                CLYDE M. BLACKMON (SBN 36280)
            2   EMILY E. DORINGER (SBN 208727)
                JONATHAN C. TURNER, Of Counsel (SBN 191540)
            3   Hall of Justice
                813 Sixth Street, Suite 450
            4   Sacramento, CA 95814
                Telephone: (916) 441-0824
            5
                Attorneys for Defendant,
            6   NICOLE DAWSON
            7
                               IN THE UNITED STATES DISTRICT COURT FOR THE
            8
                                       EASTERN DISTRICT OF CALIFORNIA
            9
                UNITED STATES OF AMERICA,                      Case No.: 2:10 CR-0223 JAM
           10
                             Plaintiff,
           11                                                  ASSOCIATION OF ATTORNEY
                      vs.
           12
                NICOLE DAWSON,
           13
                             Defendant.
           14
           15
           16         I, NICOLE DAWSON, defendant in the above-entitled case,

           17   hereby associates CLYDE M. BLACKMON, as my attorney in the

           18   above-entitled matter to represent me in association with my

           19   current counsel, Paul D. Wolf.

           20
                Dated:      01/06/11                    ___//s//______________________
           21                                           NICOLE DAWSON, Defendant
           22         The undersigned consents to the association.
           23
                Dated:      01/10/11                    __//s//_______________________
           24                                           PAUL D. WOLF
           25
           26   Dated:      01/06/11                    __//s//_______________________
                                                        CLYDE M. BLACKMON
           27                                           BLACKMON & ASSOCIATES
           28


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                                              ASSOCIATION OF ATTORNEY
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            1                                          ORDER
            2         UPON REQUEST OF DEFENDANT, NICOLE DAWSON, and good cause
            3   appearing therefore, it is hereby ordered that CLYDE M.
            4   BLACKMON, be associated as attorney of record for the defendant,
            5   NICOLE DAWSON, in the above-entitled matter along with PAUL D.
            6   WOLF.
            7   IT IS SO ORDERED.
            8
            9   DATED: 1/10/2011                       /s/ John A. Mendez__________
                                                       JOHN A. MENDEZ
           10                                          United States District Judge
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                                              ASSOCIATION OF ATTORNEY
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